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 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 9
10   KEION HOWARD,                            )   Case No.: 2:21-cv-03332-JPR
                                              )
11                Plaintiff,                  )   {PROPOSED} ORDER AWARDING
                                              )   EQUAL ACCESS TO JUSTICE ACT
12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
13   KILOLO KIJAKAZI,                         )   AND COSTS PURSUANT TO 28
     Acting Commissioner of Social            )   U.S.C. § 1920
14   Security,                                )
                                              )
15                Defendant                   )
                                              )
16
17         Based upon the parties’ Stipulation for the Award and Payment of Equal
18   Access to Justice Act Fees, Costs, and Expenses:
19         IT IS ORDERED that fees and expenses in the amount of $1,271.00 as
20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
21   awarded subject to the terms of the Stipulation.
22   DATE: 11/24/2021
23                                            /S/
                               ___________________________________
                               THE HONORABLE JEAN P. ROSENBLUTH
24                             UNITED STATES MAGISTRATE JUDGE
25
26

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 1   Respectfully submitted,
 2   LAW OFFICES OF LAWRENCE D. ROHLFING
 3         /s/ Monica Perales
     _________________________
 4   Monica Perales
     Attorney for plaintiff Keion Howard
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